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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
                              WESTERN DIVISION

In re:
      Matthew P. Gubala                                  Chapter 7
      Shaena A. Gubala
                               Debtors                   Case No. 17-30874-EDK


   TRUSTEE’S OBJECTION TO MOTION FOR RELIEF FROM AUTOMATIC STAY
                     OF U.S. BANK, NATIONAL ASSOCIATION
To the Honorable Elizabeth D. Katz, U.S. Bankruptcy Judge:

Now come David W. Ostrander, Chapter 7 Trustee in the above captioned case
(“Trustee”), by his counsel, and opposes the Motion For Relief From Automatic Stay
(“Motion”) filed by U.S. Bank, National Association as Legal Title Trustee for Truman
2016 SC6 Title Trust (“U.S. Bank”). In support thereof, the Trustee admits, or has
insufficient information to admit or deny, all 20 allegations stated in the Motion, but
further responds that the Trustee is in the process of obtaining consent from U.S. Bank
to conduct a “short sale” of the subject real estate located at 6 Cherry Hill, Holyoke,
Massachusetts (the “Property”).   This past week the Trustee accepted an Offer To
Purchase the Property and expects a Purchase And Sale Agreement to be executed
this week. Promptly thereafter, a short sale “package” will be submitted to U.S. Bank to
obtain U.S. Bank’s consent to the short sale. As a result, the Trustee respectfully
requests that the Motion be denied without prejudice.

                                   David W. Ostrander, Trustee
Dated: February 20, 2018
                                By: /s/ David W. Ostrander
                                   David W. Ostrander, Esq., BBO#554004
                                   Ostrander Law Office
                                   36 Service Center Road, P.O. Box 1237
                                   Northampton, MA 01061-1237
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                             CERTIFICATE OF SERVICE

I, David W. Ostrander, do hereby certify that I served a copy of the Trustee's Objection
To Motion For Relief From Automatic Stay By U.S. Bank, N.A., on the following in the
manner indicated, on February 20, 2018:
Office of the U.S. Trustee                   Jonathan Goldsmith, Esq.
(via ECF)                                    Counsel to Debtors
                                             (via ECF)
B & B Real Estate                            Matthew P. Gubala
59 Cherry Street                             Shaena A. Gubala
Holyoke, MA 01040                            6 Cherry Hill
(via email only)                             Holyoke, MA 01040

Stefanie D. Howell, Esq.                     Patrick Butler
Shechtman Halperin Savage, LLP               BK Global Real Estate Services
Counsel To U.S. Bank, N.A.                   (via email only)
(via ECF)



/s/ David W. Ostrander
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